Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 1 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 2 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 3 of 18




                                                EXHIBIT A
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 4 of 18




                                                                         EXHIBIT B
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 5 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 6 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 7 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 8 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 9 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 10 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 11 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 12 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 13 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 14 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 15 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 16 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 17 of 18
Case 2:18-cv-03847-NJB-DMD   Document 47-6   Filed 07/22/19   Page 18 of 18
